                 Case 23-11240-TMH             Doc 245       Filed 10/12/23        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    )
                                    Debtors.                        ) (Jointly Administered)
                                                                    )

    NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON OCTOBER
    16, 2023 AT 10:00 A.M. (EASTERN TIME) BEFORE THE HONORABLE THOMAS M.
            HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
        STREET, 5TH FLOOR, COURTROOM 5, WILMINGTON, DELAWARE 19801



       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register by 4:00 p.m. Eastern
      Time on October 13, 2023. After registering your appearance by Zoom, you will receive a
                 confirmation email containing information about joining the hearing.

      https://debuscourts.zoomgov.com/meeting/register/vJItcuiorDwtGEkpjpbmPKQV7MkCN8M1nfE

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.



DOCS_DE:245287.2 70786/001
                Case 23-11240-TMH       Doc 245    Filed 10/12/23    Page 2 of 3




DISCOVERY CONFERENCE

        a) Official Committee of Unsecured Creditors letter dated October 10, 2023 to the
           Honorable Thomas M. Horan (the “UCC Letter”) [Filed: 10/10/23] (Docket No. 239).

        b) Eric Bowlby letter dated October 10, 2023 to the Honorable Thomas M. Horan from
           Eric Bowlby Joining the UCC Letter [Filed: 10/10/23] (Docket No. 240).

        Related Documents:

        a) Notice of Service [Filed: 9/15/23] (Docket No. 130).

        b) Notice of Service [Filed: 9/15/23] (Docket No. 131).

        c) Notice of Service [Filed: 9/21/23] (Docket No. 146).

        d) Notice of Service [Filed: 9/21/23] (Docket No. 147).

        e) Notice of Service of Reverence Capital Partners and Milton Berlinski’s Responses
           and Objections to Eric Bowlby’s First and Second Document Production Requests
           [Filed: 10/5/23] (Docket No. 223).

        f) Notice of Service [Filed: 10/6/23] (Docket No. 230).

        g) Notice of Intent to Serve Subpoena in a Bankruptcy Case on RCP Credit
           Opportunities Fund Loan SPV (Fund III), L.P., RCP Customized Credit Fund (Fund
           IV-A), L.P., Reverence Capital Partners [Filed: 10/9/23] (Docket No. 232).

        h) Notice of Service of Responses to Discovery [Filed: 10/9/23] (Docket No. 233).

        i) Notice of Service of Responses to Official Committee of Unsecured Creditors’
           Discovery Requests [Filed: 10/10/23] (Docket No. 241).

        Status: This matter will go forward.




DOCS_DE:245287.2 70786/001                     2
                Case 23-11240-TMH   Doc 245     Filed 10/12/23   Page 3 of 3




Dated: October 12, 2023             PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
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                                    Counsel to the Debtors and Debtors in Possession




DOCS_DE:245287.2 70786/001                  3
